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IN THE uNrrED sTATEs DISTRICT coURT D.c.
FoR THE WESTERN DISTRICT or TENNESSEE 95 JUN 29 P
WESTERN DIVIsIoN " 2 21
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THoMAs P. LEWIS, WD 0 u;'s nomng
"“’EMPHIS'
Plaintiff,
v. No. 02-2953 B
UNITED STATES oF AMERICA,
Defendant.

 

ORDER AFFIRMING ORDER OF THE MAGISTRATE JUDGE
DENY]NG MOTION TO QUASH AND OVERRULING OBJECTIONS
OF BAKER, DONELSON, BEARMAN, CALDWELL &. BERKOWITZ, P.C.

 

This action involves a dispute concerning the payment of employment tax liabilities and
penalties owed the United States of Arnerica (the "USA"), pursuant to the Internal Revenue Code,
by VisionAmerica, Inc. ("VisionArnerica" or "the Company“). According to the motion papers,
VisionAmerica sought bankruptcy protection in 2001 and was liquidated in a Chapter 7 bankruptcy
proceeding the following year. At this point, the Company has no assets, officers, directors or
shareholders The lawflrm of Baker, Donelson, Bearman, Caldwell & Berkowitz, P.C. ("Baker
Donelson") formerly represented VisionAmerica, but is not a party to this lawsuit or the current
representative of a party.

On August 17, 2004, this Court referred to the magistrate judge the August 6, 2004 Baker
Donelson's motion to quash the subpoena of the USA, the Defendant herein, for production of
documents and to take the deposition of attorney Robert Walker, a Baker Donelson shareholder. In
an order entered December 7, 2004, Magistrate Judge S. 'l`homas Anderson denied the motion. The

objections of Baker Donelson to the magistrate judge's December 7 order are currently before th

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Court. In considering an appeal of a magistrate judge's order, "[t]he presiding district judge may
reconsider any order determining a pretrial matter where it has been shown that the magistrate
judges' order is clearly erroneous or contrary to law." LR?Z.I(g)(l), Local Rules of the U.S. Dist.
Ct. for the W.D. of Tenn.; m alj Fed. R. Civ. P. 72(a). "A finding is ‘clearly erroneous' When
although there is evidence to support it, the reviewing court on the entire evidence is left with the

definite and firm conviction that a mistake has been committed.” Stetz v. Reeher Enter. Inc., 70

 

F.Supp.Zd l 19, 120-21 (N.D.N.Y. 1999) (citation omitted). "A magistrate judge has broad discretion
in resolving nondispositive matters and thus is entitled to substantial deference in deciding discovery

disputes.“ Lomascolo v. Otto Oldsmobile-Cadillac Inc., 253 F.Supp.Zd 354, 357 (N.D.N.Y. 2003).

 

In filing its original motion, Baker Donelson sought an order quashing the subpoena and
notice of deposition on the grounds of attorney-client privilege "Claims of attorney-client privilege
are narrowly construed because the privilege reduces the amount of information discoverable during
the course of a lawsuit. The privilege applies only where necessary to achieve its purpose and
protects only those communications necessary to obtain legal advice." ln re Columbia/HCA
Healthcare Co;p. Billing Practices Litig., 293 F.3d 289, 294 (6th Cir. 2002), ga dismissed Lb

nom., HCA Inc. v. Tenn. Laborers Health and Welfare Fund, 539 U.S. 977, 124 S.Ct. 27, 156

 

L.Ed.2d 690 (2003) (internai citations and quotation marks omitted). The "burden of establishing
the existence of the privilege rests with the person asserting it."l Ld. (citation omitted). Similarly,
"[t] he risk of nonpersuasion arising from a failure to establish facts supporting a claim of privilege

falls upon the party asserting it." Amway Corp. v. Proctor & Gamble Co., No. l:98-CV-726, 2001

 

1The parties have not raised the issue of whether Baker Donelson may assert the privilege
in this case. Thus, the Court will assume for purposes of the motion at issue that it may do so.

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WL 1818698, at *4 (W.D. Mich. Apr. 3, 2001) (citing Glidden Co. v. Jandemoa, 173 F.R.D. 459,
476 (W.D. Mich. 1997)). The party invoking the privilege must "produc[e] evidence sufficient to
show the existence of a relationship giving rise to the privilege The burden of production is not
satisfied by mere conclusive or ipsa dixit assertions, for any such rule would foreclose meaningful
inquiry into the existence of the privilege." Generalized assertions of privilege will not suffice
American Health Sys., Inc. v. Libegy Health Sys., No. CIV. A. 90-3112, 1991 WL 42310, at *5
(E.D. Pa. Mar. 26, 1991) (internal citations omitted); B al_s_o_ Case v. Unified Sch. Dist. #233, No.
Civ. A. 94-2100-GTV, 1995 WL 358198, at *3 (D. Kan. June 2, 1995) (same).

In his affidavit, filed as an exhibit to the motion, Walker stated in part as follows:2

In March 2000, a Special Committee of the Board of Directors of VisionAmerica,

lnc. engaged Baker Donelson to conduct an independent investigation of certain

matters and to offer legal advice regarding the same and other related issues, and I

was the Baker Donelson attorney in charge of such investigation

In connection with its investigation Baker Donelson prepared and received

documents involving confidential communications between VisionAmerica, Inc. and

Baker Donelson with regard to the investigation and related matters.

(Baker, Donelson, Bearman, Caldwell & Berkowitz, P.C.'s Mot. to Quash Def.'s Subpoena for Prod.

of Docs. and Notice to Take Deps., Ex. 3 (Af`f. of Robert Walker, Esq. at 1111 3-4)) In its response to

 

2Filed contemporaneously with its appeal of the magistrate judge's order is a second
affidavit by Walker containing a more detailed recitation of his role with respect to the
VisionAmerica investigation However, the Court, in reviewing an appeal of a magistrate judge's
order, may not consider evidence not presented to the magistrate judge in the first instance w
Haines v. Liggett Group Inc., 975 F.2d 81, 92-93 (3d Cir. 1992), re_h'g denied (Oct. 8, 1992);
Tyson v. Eguity Title § Escrow Co. of Memphis, LLC, 282 F.Supp.?.d 829, 831 (W.D. Tenn.
2003). Accordingiy, the second affidavit will not be part of the Court's determination here Even
though it will not be considered, the Court notes that the bulk of the supplemental information
contained in the second affidavit consists of statements by Walker to the effect that certain
communication should be deemed privileged based on his assurances to his client that the
privilege applied. Obviously, communications do not become priviieged just because an attorney
declares them to be If that were the case, the privilege would be nothing more than a weapon in
counsel's arsenal to be brought forth whenever it was deemed of strategic advantage

 

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the motion, the USA avers that Walker also prepared internal corporate memoranda and
correspondence to the Intemal Revenue Service (the "lRS"), other creditors and banks; worked with
VisionAmerica's auditor, KPMG Peat Marwick, in an attempt to resolve the Company's tax
deficiencies; negotiated with financial institutions in order to obtain a line of credit to pay the IRS;
attended corporate and board of director's meetings concerning the unpaid employment taxes;
assisted in the search for a new chief executive officer to replace Ronald L. Edmonds, who is also
involved in this lawsuit; interviewed VisionAmerica officers and employees concerning their
involvement and responsibilities with respect to the payment of payroll taxes; and acted as secretary
in meetings of the Company's board of directors. The USA seeks to depose Walker concerning
business advice offered to VisionAmerica, his bank negotiations for lines of credit, and his
interviews with Company employees

The magistrate judge concluded that the attorney-client privilege did not apply because
Walker's advice, based on the information before him, was of a non-legal, business nature The
attorney-client privilege is limited to those communications made in confidence by the client to the
attorney in connection with seeking or providing legal advice w Reed v. Baxter, 134 F.3d 351,

355-56 (6th Cir.), Lrt. denied, 525 U.S. 820, 119 S.Ct. 61, 142 L.Ed.2d 48 (1998).

 

At the core of the privilege is the concept that the giving of legal advice protects
communications from compelled disclosure A lawyer's communications, and those
of the client, when the lawyer functions in any other capacity are not protected from
compelled disclosure Thus, for the privilege to be applicable, the proponent must
demonstrate that the lawyer has acted in a legal capacity rather than in any of the
other functions that legally trained individuals perform iri our society. The mere fact
that a certain function is performed by an individual with a law degree will not render
the communications made to the individual privileged

Amway Corp., 2001 WL 1818698, at *5 (emphasis in original).

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In this case, the affidavit submitted to the magistrate judge in support of Baker Donelson's
motion provided little more than blanket assertions of privilege by Mr. Walker. In light of evidence
suggesting that the duties upon which the USA seeks to depose counsel were arguably business,
rather than legal, in nature, and keeping in mind the limited review the Court is afforded and the
deference to be given to the magistrate judge's ruling, the Court is unable to conclude that the
determination was “contrary to law" or "clearly erroneous."

Furthermore, in making its decision, the Court finds that Magistrate Judge Diane Vescovo's
order in a related miscellaneous case filed in this district, to which Baker Donelson refers, is not
determinative on the issue presented here When her opinion was issued, the USA was not a party
to the action and the parties before the Court at that time appear to have stipulated to the fact that the
information sought, essentially the same evidence to be obtained through Walker's deposition, was
privileged Accordingly, the magistrate judge need not and did not make any finding as to the
existence of privilege, but merely assumed so. The conclusion of Magistrate Judge Anderson to the
contrary on the instant motion does not then, as Baker Donelson suggests, conflict with the earlier
determination by Magistrate Judge Vescovo.

As the movant has failed to make a showing that the order of the magistrate judge is clearly
erroneous or contrary to law, the order is hereby AFF[RMED and the objections filed by Baker

Donelson are OVERRULED.3

 

3Based on the Court's finding, it need not address the parties' arguments concerning
whether VisionAmerica's status as a defunct corporation affects assertion of the privilege

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IT rs so oRi)ERED this 29 _day crime 2005.

§®M

IEL BREEN
D STATES DISTRICT JUDGE

   

UNTED STATES DiSTRCT COURT - wESTiu\iEDiSTCTRi OFTNNEESSEE

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